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                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
____________________________________
                                      )
SAMANTHA WILLIAMS,                    )
                                      )
                  Plaintiff,          )      Docket No.
      v.                              )
                                      )
D’ARGENT FRANCHISING, LLC,            )
D’ARGENT CONSTRUCTION, LLC,           )
D’ARGENT COMPANIES, LLC,              )
JUSTIN GIALLONARDO, and               )
XYZ INSURANCE CO.                     )
                                      )
                  Defendants.         )
______________________________________)

                                        COMPLAINT

        1.    Plaintiff Samantha Williams worked at a Huddle House restaurant owned by the

D’Argent Companies. She worked as a server and was in training for a management position.

        2.    Unfortunately for Ms. Williams, she became the object of attention one of the

managers and owners of the D’Argent Companies, Justin Giallonardo,

        3.    Justin Giallonardo engaged in a pattern of sexual harassment towards Ms.

Williams. The harassment involved requests for dates, inappropriate nicknames and text

messages, sexual overtures, and threats to keep the communications secret.

        4.    The harassment culminated in Mr. Giallonardo tricking Ms. Williams into coming

over to his house one night for a “barbeque” for prospective managers - that no one else was

invited to.

        5.    At the fake barbeque, Mr. Giallonardo tried to have sex with Ms.Williams.

        6.    Ms. Williams declined to have sex with Mr. Giallonardo.

        7.    Afterwards, Mr. Giallonardo told Ms. Williams’ supervisor that:

                       “If I can’t fuck that girl, I’m going to fire her.”

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       8.      Ms. Williams’ supervisor told her she was going to be fired.

       9.      Ms. Williams quit to avoid a termination on her job record. Her resignation was

recorded and submitted to the Louisiana Workforce Commission.

       10.     But when Justin Giallonardo found out that Ms. Williams had quit before he could

fire her, he was furious. In a final act of retaliation, he wrote up a new, fraudulent separation

notice and back-dated it to a few days before she quit.

       11.     Disturbingly, Mr. Giallonardo is D’Argent’s Head of Human Resources – and so

Ms. Williams had nowhere to seek help from.

       12.     Ms. Williams’ claims are highly credible. As detailed herein, they are

corroborated by documentary evidence, audio recordings, social media evidence, and interviews

with nearly a dozen former employees of the D’Argent Companies and other witnesses.

       13.     Every single one of those witnesses corroborated the pattern of sexual harassment

that Ms. Williams experienced.

       14.     The witnesses described a consistent pattern – Justin Giallonardo repeatedly hired

young women and then sexually harassed them until either (1) the women complained or rejected

his sexual advances and were fired; or (2) the harassment reached a point where the female

employees could take no more and quit.

       15.     This is intolerable. It is legally forbidden and morally wrong.

       16.     D’Argent’s pattern of sexual harassment and retaliation ends here.

                             I.      JURISDICTION AND VENUE

       17.     Plaintiff brings this action pursuant to Title VII of the Civil Rights Act and other

statutes. Jurisdiction is based on 28 U.S.C. § 1331 (federal question). Plaintiff further invokes the

supplemental jurisdiction of this Court pursuant to 28 U.S.C. § 1367 to hear claims arising under

state law.

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       18.     Venue in this Court is proper pursuant to 28 U.S.C. § 1391 as a substantial part of

the events giving rise to Plaintiffs’ claims arose in the Western District of Louisiana, and because

Defendants reside in the District.

                                            II. PARTIES

                                               Plaintiff

       19.     Plaintiff Samantha Williams is an adult citizen of the State of Louisiana and

domiciled in the Western District of Louisiana. She worked at a Huddle House franchise owned

by D’Argent Franchising, LLC, one segment of the integrated enterprise known as the “D’Argent

Companies.”

                                            Defendants

       20.     Defendant D’Argent Franchising, LLC is a Louisiana licensed Limited Liability

Company, Charter No. 42412715K. Its principal place of business and headquarters are in

Alexandria, LA. It is a part of the D’Argent Companies integrated enterprise.

       21.     Defendant D’Argent Construction, LLC is a Louisiana licensed Limited Liability

Company, Charter No. 35991917K. It was formerly known as Thomas Giallonardo, L.L.C. Its

principal place of business and headquarters are in Alexandria, LA. It is a part of the D’Argent

Companies integrated enterprise.

       22.     Defendant D’Argent Companies, LLC is a Louisiana licensed Limited Liability

Company, Charter No. 35787008K. Until February 2019, it was called D’Argent Development,

LLC. Its principal place of business and headquarters are in Alexandria, LA. It is a part of the

D’Argent Companies integrated enterprise.

       23.     D’Argent Franchising, LLC, Defendant D’Argent Construction, LLC, and

D’Argent Companies, LLC (together, the “LLC Defendants”) are parts of an integrated

enterprise known as the D’Argent Companies (or “D’Argent”).

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          24.   At all relevant times D’Argent Franchising, LLC and the D’Argent Companies

integrated enterprise continuously had at least 20 employees, and thus constituted “employers” in

the meaning of Title VII and the LEDL. They are also employers engaged in an industry

affecting commerce within the meaning of Title VII.

          25.   Defendant Justin Giallonardo is a person of the full age of majority maintaining a

residence in the Western District of Louisiana. He is a manager, officer, director, and part owner

of the LLC Defendants. Upon information and belief, he exercised operational control over

significant aspects of the corporate Defendants’ day-today functions.

          26.   Defendants XYZ Insurance Companies 1-10 are not-yet-identified insurance

companies that hold policies that cover any or all of the co-Defendants for their actions alleged

herein.

          27.   Except as otherwise indicated, each defendant is a joint tortfeasor with every

other defendant under Louisiana Civil Code Art. 2324.

                                 III.    STATEMENT OF FACTS

A. Justin Giallonardo repeatedly sexually harassed Ms. Williams, and tricked her into
   coming to his house in an effort to cause her to have sex with him.

          28.   Ms. Williams worked at a Huddle House restaurant franchise owned by D’Argent

Companies from April 2019 to August 2020.

          29.   She worked as a server and was in training for a management position.

          30.   She reported to a head manager (known herein as “Manager # 1”) who reported

directly to Justin Giallonardo, the President of Business Development and Head of Human

Resources for D’Argent Companies.

          31.   While working for D’Argent’s Huddle House franchise, Ms. Williams was subject

to a pervasive pattern of unwelcome romantic and sexual advances and physical contact.



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       32.      This harassment came primarily from Justin Giallonardo.

       33.      Prior to initiating sexual overtures with Ms. Williams, Justin Giallonardo asked #

1 if he could date her.

       34.      Specifically, Giallonardo came into Manager # 1’s office and said “I’m gonna try

to fuck Sam.”

       35.      Manager # 1 responded “That’s not cool, dude, that’s my employee, I’m training

her to be a manager.” Giallonardo said “Naw, I’m going to try to take her out.” Manager # 1 said

“You’re a boss, you can’t do that.”

       36.      Giallonardo responded “I can do whatever I want to.”

       37.      Manager # 2, another manager of a D’Argent restaurant franchise, reports a similar

event. On a particular day, Manager # 2 met with Justin at the Huddle House. Justin asked, out of

the blue “What do you think about Samantha?”

       38.      Manager # 2 asked what he meant, and Justin indicated he was interested in

employee Samantha Williams. Manager # 2 thought it was a joke, because it was so obviously

wrong for a boss to date a subordinate.

       39.      But it was not a joke. Mr. Giallonardo began dropping by the Huddle House

franchise while Ms. Williams was working in an effort to strike up a relationship with her.

       40.      During these visits he would engage in flirtatious conversation with Ms. Williams,

ask her out on dates, and regularly try to hug her, despite her demonstrated discomfort with this

contact.

       41.      Manager # 1 describes Justin Giallonardo frequently dropping by the restaurant and

saying “come here sweetie,” “you’re so pretty,” “I’ll buy you whatever you want, just be with me”

to Ms. Williams.




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       42.      Manager # 2 witnessed Justin Giallonardo being inappropriate with Ms. Williams,

describing the date he wanted to take her on – “I would take you out on the lake, buy you a steak

dinner,” etc.

       43.      On one occasion, Justin Giallonardo said to Manager # 1 “I’m gonna get that ass

one day,” referring to Ms. Williams.

       44.      Mr. Giallonardo also used flirtatious and unprofessional nicknames to refer to Ms.

Williams. At work and in text messages, he called her nicknames including “punkin,” “doodle

bug,” “little lady,” and “gal.” In a text message to Ms. Williams he specified that “punkin” was

his way of referring to “Justin’s Samantha.”

       45.      Mr. Giallonardo also engaged in unwanted sexual advances via phone calls and text

messages outside of work. In text messages, Mr. Giallonardo regularly asked Ms. Williams when

she was free to go on a “dinner date” with him. See, e.g.:




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       46.       Ms. Williams repeatedly rebuffed these advances. Because Mr. Giallonardo was

her boss’s boss, she tried to do so gently, telling Mr. Giallonardo she had to work or didn’t know

her schedule.

       47.       Nonetheless, Mr. Giallonardo persisted in asking her out.

       48.       He also made repeated invitations to Ms. Williams to come to his home, which she

initially declined via text message, insisting she had to work.

       49.       Mr. Giallonardo indicated he knew his behavior towards Ms. Williams was

improper through his insistence that she keep their communications secret.

       50.       Shortly after they began communicating via text message, Mr. Giallonardo

contacted Ms. Williams from a new phone number. He informed her “This is my real #. Use this

one from now on. Deal?”

       51.       When she asked why he has two phones, he responded that he had a “public # and

private.”

       52.       In another text message, Mr. Giallonardo told Ms. Williams, “We have a few things

to chat about before things can proceed. . . I have an extremely private life and I’m sure you can

respect that.”

       53.       He told her not to tell anyone about their interactions, and also instructed her to

delete text messages he sent her. He followed up on these demands via text message, asking “How

you doing keeping this private?”

       54.       These communications contributed to Ms. Willams’s discomfort and were designed

to discourage her from reporting the inappropriate behavior.

       55.       Manager # 1 asked Giallonardo to stop harassing Ms. Williams. Giallonardo

responded “She’s my employee, I do what I want to.”




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        56.     After Ms. Williams rejected his advances on multiple occasions via text message,

Mr. Giallonardo said “I will just have to come to Huddle to see yah.”

        57.     Giallonardo told Manager # 1 “If I can’t fuck that girl, I’m going to fire her.”

        58.     Manager # 1’s testimony is recorded in a sworn statement, attached to this

Complaint and incorporated herein by reference.

        59.     He also expressed his frustration with her repeated rejections by texting Ms.

Williams: “I give up.”

        60.     However, Mr. Giallonardo did not give up.

        61.     In late November 2019, after Ms. Williams had rejected Mr. Giallonardo’s requests

for dates on multiple occasions, he invited Ms. Williams to his home under the guise of hosting a

“barbeque” for her as a prospective manager.

        62.     When Ms. Williams arrived, however, she was alone with Mr. Giallonardo.

        63.     Mr. Giallonardo had not invited anyone else to the fake “barbeque.”

        64.     Ms. Williams sat on a table while Mr. Giallonardo sat on the couch watching

television. Mr. Giallonardo commented on the fact she was sitting so far from him and tried to

convince her to sit closer to him.

        65.     After she moved closer to him, Mr. Giallonardo pressured her to engage in physical

contact by telling her to put her head on his chest and tried to grab her leg to pull her closer to him.

Ms. Williams declined, and Mr. Giallonardo pressured her, saying “all the girls” like to “lay on

him.” She said no again, specifically pointing out that he was her “boss.”

        66.     Ms. Williams was uncomfortable and fearful during the interaction. She felt

pressured due to Mr. Giallonardo’s position of authority over her professionally. But Mr.

Giallonardo made it intolerable and so she left.




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        67.    After Ms. Williams left the residence, she met with Manager # 1 about the incident

and shared her distress about the situation.

        68.    Manager # 1 reports that the day that Ms. Williams rejected Giallonardo’s

advances, she was extremely upset, shaking, and saying “I can’t believe he did this.”

        69.    Manager # 1 said that “If you had seen her face when she got back [from being at

Giallonardo’s house], you’d think she’d been raped.”

        70.    On December 2, 2019, soon after the incident at Mr. Giallonardo’s home, Ms.

Williams reiterated via text message to Mr. Giallonardo that she was not open to a relationship.

C.      After Ms. Williams rejected Justin Giallonardo’s advances, he said he was going to
        fire her. When she quit to avoid termination, he falsified paperwork to make it look
        like she had been fired for cause.

        71.    Prior to December 2, 2019, Ms. Williams received only positive feedback on her

job performance. Mr. Giallonardo would regularly tell Ms. Williams she was doing an excellent

job, even sending her a text message stating: “Good job. You are doing great with that.”

        72.    On December 2, 2019, Ms. Williams sent Mr. Giallonardo the text message clearly

indicating that she was not open to a relationship.

        73.    After that, Justin Giallonardo dramatically changed his treatment of Ms. Williams.

        74.    He claimed that Ms. Williams was conducting the count of cash incorrectly and

made other complaints about her job performance to the head manager at Huddle House.

        75.     Mr. Giallonardo was looking for an excuse to fire Ms. Williams in retaliation for

her rejection of his advances.

        76.    This is corroborated by Manager # 1, who reports that “ever since that day” that

Ms. Williams rejected Giallonardo’s advances, Giallonardo would make repeated complaints

about her.




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       77.    Manager # 1 asked Giallonardo, “Is Samantha not doing things right because she

isn’t doing things right, or because she wouldn’t have sex with you?”

       78.    Giallonardo did not answer.

       79.    For months after December 2, 2019, Justin Giallonardo suggested to Manager # 1

that he fire Ms. Williams. Manager # 1 declined.

       80.    Finally, on Friday, August 14, 2020, Giallonardo made it an order – he directed

Manager # 1 to fire Ms. Williams.

       81.    Manger # 1 told Justin that he needed Ms. Williams for the weekend, and if Justin

wanted to fire her, he’d have to do it himself on Monday.

       82.    Manager # 1 then told Ms. Williams that she was going to be fired the next week.

       83.    Ms. Williams then resigned to avoid having a termination on her job record.

       84.    She resigned on Sunday, August 16, 2020, as shown on her separation notice as

written up by Manager # 2. That notice is shown below as Fig. 1.




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             Fig. 1: Ms. Williams separation notice showing that she quit.



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       85.     The separation notice was submitted to the Louisiana Workforce Commission on

August 18, 2020 at 1:40:03 p.m.

       86.     When Justin Giallonardo found out that Ms. Williams had quit before he could fire

her, he was furious.

       87.     So he engaged in one last act of retaliation towards Ms. Williams.

       88.     He wrote up a new separation notice in which Ms. Williams was fired, and directed

Manager # 2 to sign it.

       89.     He then back-dated the new, fraudulent separation notice to August 15, 2020.




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  Fig. 2: The fraudulent, back-dated separation notice in which Justin “fired” Ms. Williams.




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A.     D’Argent’s managers repeatedly engage in sexual harassment of female employees.

       90.     D’Argent has a pattern of repeatedly sexually harassing its female employees.

       91.     Specifically, D’Argent’s human resources manager Justin Giallonardo has

repeatedly hired young women and then sexually harassed them until either (1) the women

complained or rejected his sexual advances and were fired; or (2) the harassment reached a point

where the female employees could take no more and quit.

       92.     Ms. Williams was one of the young women subject to this pattern of harassment.

       93.     The pattern of harassment described below corroborates Ms. Williams’ allegations

and makes them more plausible.

       94.     That pattern is described by former D’Argent employees as follows:

       95.     H.R. Assistant # 1, a former D’Argent employee, reports that Justin Giallonardo

would make comments about her relationship and sexual activity. For example, at one point in

December 2019, she described what she bought her husband for Christmas. Mr. Giallonardo

responded that a gift was unnecessary, and instead she should “get a nice outfit and be available

whenever [her husband] wants, to suck his dick on the couch.”

       96.     Mr. Giallonardo suggested that he thought H.R. Assistant # 1 would be good at oral

sex.

       97.     Justin Giallonardo would talk to H.R. Assistant # 1 about his sexual encounters. He

told her that he had had sex with one of the company’s vendors, but he wouldn’t do it again because

she had a “hairy pussy.”

       98.     He would describe sex with his ex-wife, and said that “she was like a bunny, she’d

always hop on me.”

       99.     He would describe to H.R. Assistant # 1 how he “fucked these whores,” by which

he meant the women he had sex with in general.

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       100.    Justin Giallonardo would make comments and hand gestures about H.R. Assistant

# 1’s body.

       101.    For example, he asked her if she had ever had a “stalker.” After she described an

example of unwelcome attention, he asked “did you have the figure you have now back then” and

then motioned to his chest, waist, and buttocks to describe those parts of her body.

       102.    Giallonardo told H.R. Assistant # 1 that he was disgusted by her tattoos, that

“women down here [in the South] don’t do that.”

       103.    He also asked H.R. Assistant # 1 to comment about his body. He asked what H.R.

Assistant # 1 thought of his feet, and asked if she had a “foot fetish.”

       104.    He would wear loose basketball shorts, and tell her that he was “freeballing,” and

asked her and another female employee if they thought “the hoes would like it.”

       105.    He would say his penis “has a mind of its own.”

       106.    Justin Giallonardo would direct sexually suggestive and romantic comments

specifically at H.R. Assistant # 1. For example, he said that if the world was ending, he would

choose H.R. Assistant # 1 to procreate with.

       107.    On at least one occasion, Justin Giallonardo touched H.R. Assistant # 1’s buttocks

with his hand, but tried to disguise it as an accident.

       108.    On a near-daily basis he would ask about H.R. Assistant # 1’s female friends to

determine whether they might fit his “requirements” for a sexual or romantic partner.

       109.    He particularly asked about one of H.R. Assistant # 1’s friends, who is a gay

woman. He would ask if she was “still a lesbian” and ask questions about how she “scissored.”

       110.    He asked if H.R. Assistant # 1 had ever had sex with a woman, because she seemed

like the kind of woman “who would do stuff like that.”




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       111.    At one point, Mr. Giallonardo told H.R. Assistant # 1that he had watched “lesbian

porn” over the weekend expressed his opinion that H.R. Assistant # 1’s friend “hasn’t had the right

dick yet.” He also asked what kind of pornography H.R. Assistant # 1 enjoyed.

       112.    He would also talk to H.R. Assistant # 1 about his assessment of the other female

employees in the office, and how they did or did not meet his “requirements.” One employee he

said fit his “southern woman” criteria because she looks to cook and clean, but would not fit his

requirements because she was overweight.

       113.    Mr. Giallonardo also critiqued H.R. Assistant # 1 for her compliance with his

“requirements.” He told her that “figure wise, you meet the criteria,” but told her that she didn’t

meet other criteria because she was “not the type of woman to be submissive,” and because she

didn’t want to be a stay-at-home mother.

       114.    Justin Giallonardo engaged H.R. Assistant # 1 in a conversation about how “racism

and sexism aren’t a thing anymore.” He said “so you think you should get a promotion after taking

maternity leave, while Sarah or Kyle have been here working their asses off. It was your choice to

have the baby.” H.R. Assistant # 1 pointed out that in some cases, a doctor orders bedrest and

leave. Mr. Giallonardo responded: the “doctor doesn’t sign your paychecks – I do.” She said that

he’d have to follow the federal law. He said “federal doesn’t sign your paychecks.”

       115.    Mr. Giallonardo also expressed his opinion that if a woman got pregnant, she

shouldn’t “take maternity leave” – instead, she should “stay home, and take care of her husband.”

       116.    When H.R. Assistant # 1 complained about Mr. Giallonardo’s inappropriate

behavior, he would get angry and punish her by chastising her work, and making her do punitive

repetitive tasks – like forwarding her emails and telling her to unsubscribe from them. He also

retaliated against her by talking negatively about her to other leadership.




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       117.    The sexual harassment against H.R. Assistant # 1 was often intertwined with racial

slurs and unwelcome comments about H.R. Assistant # 1’s race.

       118.    H.R. Assistant # 1 is Hispanic. Mr. Giallonardo would often refer to H.R. Assistant

# 1 as a “wetback,” and suggested that H.R. Assistant # 1’s secondary sexual characteristics (such

as her breasts and buttocks) were the result of her racial background.

       119.    For example, Mr. Giallonardo pointed to a picture of white women in Hooters

photo, and told H.R. Assistant # 1 “Don’t be racist and make these girls feel bad because they’re

not as privileged as you; you’d have no problem working at Hooters whatsoever.”

       120.    H.R. Assistant # 1 also observed sexism was also reflected in the other leadership

of the company.

       121.    For example, Thomas Giallonardo III, the owner and CEO of D’Argent Company,

asked H.R. Assistant # 1 to find an accounting intern. He told her to look for either a person with

business finance experience or an accountant. He said, “I’d prefer a man, because they are better

at numbers. But if it’s an accountant, I’d prefer a woman because they are better at organizing.”

H.R. Assistant # 1 found a Black woman with a Masters Degree in business finance, who was a

Ph.D. doctoral candidate, and brought her in for an interview. Thomas Giallonardo told H.R.

Assistant # 1 that he wouldn’t hire the woman because “this girl just has a degree in business.”

       122.    Receptionist # 1, a former D’Argent employee, also describes a pattern of sexual

harassment by Justin Giallonardo and CEO Thomas Giallonardo.

       123.    Justin Giallonardo questioned Receptionist # 1 about her sexual habits and

preferences, and speculated about her sexual history.

       124.    In particular, Mr. Giallonardo commented several times that “he could tell”

Receptionist # 1 “had been abused sexually as a child,” that she probably “liked certain sexual

kinks,” and “was probably into older men, and probably liked to be choked or slapped in bed.” In

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response Receptionist # 1 tried to change the subject, and told him that is “not something people

want to talk about.”

        125.       Justin Giallonardo made inappropriate comments about Receptionist # 1’s physical

appearance. On at least one occasion he said: “Completely off record, that shirt looks good on

your chest.”

        126.       Justin Giallonardo would also commonly talk about his own sex life to Receptionist

# 1. He would share unsolicited details of when he had sex and specific sex acts he engaged in.

He would also tell Receptionist # 1 and other female employees about occasions when he cheated

on a girlfriend.

        127.       Justin Giallonardo also engaged in physical activity that made Receptionist # 1 feel

uncomfortable. Specifically, Mr. Giallonardo would regularly urinate in an open courtyard located

within view of office windows during business hours. This conduct was visible to individuals

inside the office. Mr. Giallonardo said he knew people could see him urinating but he didn’t care.

        128.       CEO Thomas Giallonardo, III used the office for inappropriate personal purposes.

        129.       He routinely slept at the office and allowed his girlfriend to sleep there with him.

        130.       Both he and his girlfriend would be around Receptionist # 1 and other employees

while partially dressed or wearing only underwear.

        131.       On occasion, Thomas Giallonardo required Receptionist # 1 to wash bedsheets

stained with sexual fluids after he had slept in them at the office.

        132.       Receptionist # 1 heard the Giallonardos repeatedly joke about Thomas

Giallonardo’s girlfriend “Sherl” as “the handbag” because she had been “passed around” between

the Giallonardos.




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       133.    Several times, Justin Giallonardo asked Receptionist # 1 when she was going to

“fuck” his cousin Joey (a former D’Argent employee). He would do a hand motion to simulate sex

when he said this.

       134.    Justin Giallonardo told other employees, falsely, that Receptionist # 1and Joey had

had sex.

       135.    Justin Giallonardo on approximately a weekly basis would ask Receptionist # 1 to

go work as a stripper for D’Argent’s former employee Gary Archer.

       136.    Justin proposed that he would keep a “cut” of any money Receptionist # 1 earned

in that manner. Justin would suggest that because Receptionist # 1 was “plus sized” and a “southern

belle” would be a “fetish” and get more money.

       137.    Receptionist # 1 would repeatedly say she was “not going to do that” because she

was a mother and a Pentecostal – but Justin would still push her.

       138.    On other occasions, Roland Giallonardo, a former employee of D’Argent

Companies, engaged in inappropriate sexual behavior with female employees including

Receptionist # 1. Roland Giallonardo, an uncle of Justin Giallonardo, would frequently come to

the office and unsolicitedly rub the backs, shoulders, and necks of female employees. Roland

Giallonardo engaged in this behavior with Receptionist # 1. D’Argent’s management allowed this

to occur.

       139.    The impact of all this behavior was exacerbated by the fact that Justin Giallonardo

was the head of Human Resources – and so the women at D’Argent had nowhere to turn for help.

       140.    Receptionist # 1 took an HR class with Mr. Giallonardo, and after the class

reminded she him that using profane language can be a form of sexual harassment.




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       141.    Mr. Giallonardo dismissed her concerns, stating “it doesn’t matter because we are

a small company,” suggesting that he understood the requirements of anti-discrimination law but

believed the law did not apply to D’Argent.

       142.    Justin Giallonardo was aware that this conduct was in direct conflict with his role

as Head of Human Resources.

       143.    He would frequently say “this isn’t HR but…”

       144.    By saying “this isn’t HR but,” Mr. Giallonardo meant that he was aware that what

he was saying was not appropriate.

       145.    Justin Giallonardo also mandated that both H.R. Assistant # 1 and Receptionist #

1, along with the other women in the office (and only the women in the office), participate in the

process of finding him sexual partners.

       146.    On one of her first days on the job, Mr. Giallonardo handed H.R. Assistant # 1 a

document entitled “Requirements for Wife.” (A copy is attached here as Figure 3.)

       147.    He explained that “now that you’re working here, these are my requirements for a

wife. I want you to help me find her. . . . She has to fit a majority of these requirements. I don’t

care if she is a military spouse with kids, so long as her spouse has to be out of the picture.” He

told her that “whenever an opportunity crosses your mind, tell me immediately.”




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               Figure 3: Justin Giallonardo’s “Requirements for Wife”




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        148.      Administrative Assistant # 1 was a female D’Argent employee who worked as

Thomas Giallonardo’s personal assistant for six months.

        149.      She heard Thomas Giallonardo bragging about sexual conduct with an underage

girl, was exposed to Justin Giallonardo’s written sexual fantasies about co-workers, was asked to

find paid sexual partners for Thomas Giallonardo.

        150.      In one meeting with a potential client, Administrative Assistant # 1 had to listen to

Thomas Giallonardo tell the potential client how he had “got a 15-year-old girl to suck his ass

when he was in the Dominican [Republic].”

        151.      On one business trip, Thomas Giallonardo asked Administrative Assistant # 1 to

procure “sugar babies” – i.e., women who would have sex for compensation – on the website

Seeking.com, which describes itself as “The Official Sugar Daddy Site.”

        152.      Administrative Assistant # 1 described a document in which Justin Giallonardo

recorded “the sexual fantasies about the people who work” for D’Argent.

        153.      The document was stored on a D’Argent company server.

        154.      This document, for example, recorded that Justin Giallonardo thought H.R.

Assistant # 1’s “tits look great” and gave him an erection.

        155.      Justin Giallonardo once told Administrative Assistant # 1 that a “true man” would

want a woman he could “control,” and indicated that the best person to control is a woman who is

like a “child.”

        156.      Accountant # 1 was a female employee who worked at D’Argent for a year and a

half.

        157.      On her first day, Tom Giallonardo told her to “move her bony ass.” When

Accountant # 1 expressed that it was inappropriate, Tom just laughed.

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          158.   She also says that Tom frequently says “kiss my pussy” instead of the phrase “my

mistake.”

          159.   She was also given the “Requirements for a Wife” list by Justin Giallonardo. He

walked into her office and said “since I’m single here is a list of what I’m looking for.”

          160.   Her boyfriend came to the office and Justin took him in another room and showed

him pornography of a woman using strap-on dildo on a man, asked if he thought it was “gay.”

          161.   She corroborates that she would see Justin peeing outside “daily.”

          162.   Accountant # 1 told Justin multiple times he was inappropriate but he would not

change his behavior.

          163.   Admin Assistant # 2 was a female employee who worked at D’Argent for six

months.

          164.   On her first day, she was asked to wash Tom Giallonardo’s underwear and dirty

sheets.

          165.   She recalls that Justin Giallonardo would say terrible things about his girlfriend,

how he “just had her for the sex.” One time, when Justin’s girlfriend was on the news, he told

Admin Assistant # 2 “I’m hitting that.”

          166.   Justin Giallonardo would describe to her the “bitches” he had lined up to date.

          167.   She corroborates seeing Justin go outside to urinate, and also other executives do

the same on a particular plant. Then they brought the plant inside. It was leaking with urine, and

Admin Assistant # 1 was told to clean it up.

          168.   Thomas had Admin Assistant # 2 pick out gifts for his girlfriend and mistress.

          169.   Thomas had her book him a vacation, and had her asked about the nudity policy.

          170.   She frequently heard Tom Giallonardo say “kiss my pussy.”




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        171.   On several occasions Admin Assistant # 2 saw pornography on Tom Giallonardo’s

phone and office computer. She reported the incident to a human resources liason (Marketing

Employee # 1). Shortly thereafter, she was fired.

        172.   Marketing Employee # 1 was a female employee who worked directly under

Justin Giallonardo in human resources. She worked with him for approximately two years.

        173.   Marketing Employee # 1 also worked as a human resources liaison. In that capacity,

two female employees came to her with complaints, one regarding a franchisee outside the office,

the other who said Thomas Giallonardo showed her pornography on his computer.

        174.   The employee who was shown pornography was fired a week later after she

complained about the conduct to Marketing Employee # 1.

        175.   Marketing Employee # 1 recalls Justin talking about his sex life with his girlfriend

Jana.

        176.   Marketing Employee # 1 recalls Justin printing the “list of qualities” and giving it

to her sometime in 2017 or 2018, and asking her to keep an eye out for women meeting the criteria.

She told him it was inappropriate.

        177.   She recalls going to a conference with Justin and Tom. Justin brought his girlfriend

and would describe to Marketing Employee # 1 the specific sexual acts he were doing in his hotel

room (throwing his girlfriend up against wall, floor, pulling her hair, etc.) and asked Marketing

Employee # 1 if she could hear them.

        178.   Marketing Employee # 1 witnessed and experienced Roland Giallonardo coming

to the office and rubbing the shoulders of female employees. She confirms it was unwanted.

        179.   She would frequently tell Justin he was going to get sued, he would laugh or tell

her “what happened at D’Argent stays at D’Argent.” Another time she told him “y’all are gonna

get your ass sued.” Justin Giallonardo responded “I wish people would stop saying that.”

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        180.    Manager # 1 is a former male employee who was a manager of one of the D’Argent

restaurants for approximately two years.

        181.    He witnessed Justin Giallonardo point to a female blonde employee and say “I’m

going to fuck that bitch” within earshot of the female employee. She turned around in shock.

        182.    He witnessed Justin and Thomas Giallonardo walk around the office in boxer

shorts, more than once.

        183.    He witnessed Justin Giallonardo say about a female employee “somebody better

help her fat ass lose weight.”

        184.    He witnessed Justin Giallonardo rubbing his genitals while looking at Receptionist

# 1.

        185.    Manager # 2 is a former male employee who was a manager of the D’Argent

restaurants.

        186.    He said Justin would watch the female employees on their security camera system,

and make “lewd comments.” Justin described one employee as a “worthless fat bitch,” described

another as “that’s a nice ass.” Justin would ask Manager # 2 if female employees were single.

        187.    He described Justin as going into “very explicit detail” about his sexual activities

with his girlfriend, who he called the “frog.”

        188.    He heard Justin call a female D’Argent employee a “cunt.”

        189.    He witnessed Justin talk to Receptionist # 1 inappropriately, describing a

hypothetical relationship between them “if it was me, I would take you out, I would buy you the

best things,” etc.

        190.    Manager # 2 would witness Thomas and Justin Giallonardo walk around in their

boxers at the office, during office hours, while female subordinates were present.




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       191.      Manager # 2 witnessed Justin Giallonardo peeing outside on the patio behind the

office, with his penis out and visible.

       192.      Justin Giallonardo gave a print-out of the “Requirements for a Wife” to Manager #

2’s fiancée, who was a female employee at another D’Argent franchise. He did not, however, give

a copy to Manager # 2.

       193.      Coordinator # 1 is a female employee who worked at D’Argent for several years.

She describes:

       194.      Her supervisor, Tommy Giallonardo (the son of Thomas Giallonardo) would

frequently make comments about her appearance. One time she apologized while wearing yoga

pants, and Tommy said “looking like that, you don’t need to apologize.”

       195.      Justin Giallonardo was always talking about “boobs and butts,” and would say

things to Coordinator # 1 like “you look so hot in that dress, could I pull it off?”

       196.      She heard Justin talk about tasting a female coworker’s breastmilk. He asked that

coworker “if it would be too much” if he asked to taste it.

       197.      Coordinator # 1 would tell him “Justin, we’re not talking about that, that’s not a

work conversation.” He would say “I’m HR and it’s okay.”

       198.      Coordinator # 1 reports that female employees were treated very differently than

male employees. The executives would ask the female employees to shop for clothes, or for shoes,

or birthday gifts, or wrap presents, or go grocery shopping. They would ask female employees to

use their personal lunch break to get food for the executives. When asked if male employees were

asked to perform similar tasks, Coordinator # 1 laughed and said “no, no.”

       199.      She had a female coworker come to her and describe how she had been called to

Tom Giallonardo’s office, and had seen pornography playing on his computer.




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                                     IV.    Causes of Action

                       Count One – Violation of Title VII of the Civil Rights Act
                                           (LLC Defendants)

       200.     Plaintiff realleges and incorporates each and every foregoing paragraph.

       201.     Title VII of the Civil Rights Act bars gender discrimination in the form of

workplace sexual harassment. Civil Rights Act of 1964, § 701 et seq., as amended, 42 U.S.C. §

2000e et seq.

       202.     A hostile work environment resulting from sexual harassment is a kind of gender

discrimination that violates Title VII. Meritor Sav. Bank, FSB v. Vinson, 477 U.S. 57, 66, 106 S.

Ct. 2399, 2405, 91 L. Ed. 2d 49 (1986).

       203.     A prima facie case of hostile work environment requires: (a) the employee

belongs to a protected group, (b) the employee was subject to unwelcome sexual harassment, (c)

the harassment was based on sex, (d) the harassment affected a “term, condition, or privilege of

employment,” and (e) respondeat superior (i.e., the employer knew or should have known of the

harassment and failed to take remedial action). Jones v. Flagship Int'l, 793 F.2d 714, 719–20 (5th

Cir. 1986). Where the harasser is a supervisor, this last element can be eliminated. Watts v.

Kroger Co., 170 F.3d 505, 509 (5th Cir. 1999).

       204.     For behavior to be harassment, the conduct must be unwelcome “in the sense that

the employee did not solicit or incite it, and in the sense that the employee regarded the conduct

as undesirable or offensive.” EEOC Compl. Man. (CCH) P3114 (Mar. 19, 1990) (quoting

Henson v. City of Dundee, 682 F.2d 897, 903 (11th Cir. 1982). Sometimes behavior from the

plaintiff appears to welcome or encourage the harassment, when in fact that reciprocation of

sexual behavior was coerced. See Phillips v Smaelly Maintenance Serv., Inc. 711 F.2d 1524 (11th

Cir. 1983) (holding lower court correct to consider that the alleged harasser knew plaintiff



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needed job to make house payments and exploited her financial need to solicit sexual relations).

       205.    Harassment affects a “term, condition, or privilege of employment” when it is

“sufficiently severe or pervasive to alter the conditions of [the victim’s] employment and create

an abusive working environment.” Royal v. CCC & R Tres Arboles, L.L.C., 736 F.3d 396, 401

(5th Cir. 2013), quoting Harvill v. Westward Commc'ns, L.L.C., 433 F.3d 428, 434 (5th Cir.

2005) (quoting Meritor Sav. Bank, FSB v. Vinson, 477 U.S. 57, 67, 106 S. Ct. 2399, 91 L.Ed. 2d

49 (1986)). In Lauderdale v. Texas Dep’t of Criminal Justice, Institutional Div., the employee

had a viable hostile work environment due to the “frequency of unwanted attention,” where her

harasser repeatedly called her, asked to “snuggle,” and repeatedly asked to get coffee after work.

Lauderdale v. Texas Dep't of Criminal Justice, Institutional Div., 512 F.3d 157, 164 (5th Cir.

2007). The Fifth Circuit found that “[g]iven this pervasiveness, the level of severity necessary to

establish an altered work environment is diminished.” Id.

       206.    An employer make take advantage of an affirmative defense against sexual

harassment if it can show: “(a) that the employer exercised reasonable care to prevent and correct

promptly any sexually harassing behavior, and (b) that the plaintiff employee unreasonably

failed to take advantage of any preventive or corrective opportunities provided by the employer

or to avoid harm otherwise.” Faragher v. City of Boca Raton, 524 U.S. 775, 807, 118 S. Ct.

2275, 2293, 141 L. Ed. 2d 662 (1998).

       207.    No affirmative defense is available, however, when the supervisor's harassment

culminates in a tangible employment action, such as discharge, demotion, or undesirable

reassignment. Id. at 2279. This is quid pro quo harassment, and results in strict liability for the

employer. See EEOC Enforcement Guidance, "Vicarious Employer Responsibility for Unlawful

Harassment by Supervisors" (June 18, 1999).

       208.    Title VII, specifically 42 U.S.C. § 2000e-3 makes it unlawful for an employer to

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retaliate against an employee who has opposed an unlawful employment practice, or a practice

they reasonably believed to be unlawful.

       209.    Here, Ms. Williams was in a protected class, as a woman.

       210.    Her harasser, Justin Giallonardo, was a supervisor. Specifically, he was Ms.

Williams’ supervisor’s supervisor, and also a part owner of the business.

       211.    Ms. Williams did not welcome the Justin Giallonardo’s behavior. She did her best

to deflect or ignore his behavior, often changing the topic.

       212.    Justin Giallonardo’s behavior went beyond merely “distasteful,” and included

explicit invitations to conduct sexual acts. See Meritor Savings Bank v. Vinson, 477 U.S. 57

(1986). His behavior was offensive, severe, unwelcome, and pervasive.

       213.    The pervasiveness of the conduct created a hostile work environment that was

severe enough to affect the terms, conditions, and privileges of employment.

       214.    Defendants, through pervasive sexual harassment, created a hostile work

environment for Ms. Williams.

       215.    When they fired Ms. Williams for refusing to acquiesce to sexual conduct,

Defendants committed quid pro quo sexual harassment and retaliation.

       216.    Defendants’ conduct was intentional and done with malice or with reckless

indifference to the federally-protected rights of Ms. Williams.

       217.    As D’Argent’s Human Resources officer, Justin Giallonardo was aware of the

requirements of federal law. He explicitly rejected those requirements as not applying to

D’Argent.

       218.    Defendants’ actions have caused Ms. Williams to suffer mental, emotional and

psychological harm.




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       219.    Ms. Williams suffered a loss of present and future wages, employment benefits,

and future career opportunities as a result of Defendants’ unlawful conduct.

       220.    On September 17, 2020, Ms. Williams filed Charge of Discrimination No. 461-

2021-00031 with the Equal Employment Opportunity Commission.

       221.    On December 18, 2020, Ms. Williams was issued a Right to Sue Letter.

                    Count 2 - Louisiana Employment Discrimination Law
                                     (LLC Defendants)

       222.    Plaintiff realleges and incorporate each and every foregoing paragraph.

       223.    La. R.S. 23:332(A)(1) makes it unlawful to discriminate against any individual in

employment based on their sex.

       224.    By the conduct alleged herein, Defendants subjected Ms. Williams to gender

discrimination in the form of hostile workplace sexual harassment, quid pro quo sexual

harassment, and retaliation in violation of the Louisiana Employment Discrimination Law.

                    Count Two – Intentional Infliction of Emotional Distress
                                    (All Defendants)

       225.    Plaintiff realleges and incorporate each and every foregoing paragraph.

       226.    Intentional infliction of emotional distress is (a) intentional or reckless conduct

(b) which was extreme and outrageous; and (c) caused severe emotional distress to the plaintiff.

Mississippi recognizes such a cause of action even in the absence of physical injury. See Jones v.

Fluor Daniel Services Corp., 959 So. 2d 1044 (Miss. 2007); First Nat. Bank v. Langley, 314 So.

2d 324, 77 A.L.R.3d 570 (Miss. 1975).

       227.    Here, Defendants intentionally and recklessly sexually harassed Ms. Williams and

retaliated against her when she refused to have sex with Justin Giallonardo.

       228.    Their pervasive lewd comments, requests, gifts, and solicitations were extreme

and outrageous.

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       229.    The final act of retaliation – fraudulently creating and backdating a termination

notice – served no purpose other than to cause distress to Ms. Williams.

       230.    Ms. Williams suffered severe emotional distress as a result of Defendants’

behavior.


                   Count 3 – Intentional Spoliation and Witness Intimidation
                                       (All Defendants)

       231.    A “state law tort claim for spoliation of evidence” exists when a “defendant

intentionally destroyed evidence.” Longwell v. Jefferson Par. Hosp. Ser. Dist., 970 So.2d 1100,

1104 (La. App. 2007).

       232.    Here, Defendants learned in 2020 that they were being investigated by counsel for

their employees.

       233.    Once they learned they were being investigated, Defendants engaged in a campaign

of spoliation of evidence and witness intimidation. Plaintiff has learned of three elements of this

campaign:

       234.    First, when Defendants found out an EEOC claim had been filed against them, they

began to change documents, memberships, and other items in an effort to make the various parts

of their integrated enterprise appear “separate” when they were not.

       235.    This is because Defendants have a rudimentary understanding that Title VII and

other federal statutes only apply to companies with more than fifteen employees.

       236.    So Justin Giallonardo called Manager # 1 and Manager # 2 into his office and said

“[Receptionist # 1] is suing us. . . What I need y’all to do is go to your computers and go into

Heartland [payroll system] and make everyone part time. The only full-time employees we need

to have is the managers. We have to make everything separate.”

       237.    Manager # 1 described Justin as treating this “like a 911 deal” – i.e., an emergency.


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Justin explained that it was because Receptionist # 1 was “coming after” him.

       238.    Manager # 1 reports that after that point Justin was “making everything separate.”

For example, Justin previously had “D’Argent Companies” Sam’s Club cards for the restaurant,

and after the EEOC charge, he changed it to “D’Argent Franchising.”

       239.    Second, Defendants engaged in deliberate witness tampering and spoliation of

evidence when they filed a police report and urged prosecution of witness Ricky Molina shortly

after finding out he was a witness against Defendants.

       240.    Specifically, on August 11, 2020, Justin Giallonardo and Manager # 2 had a

disagreement over money.

       241.    The disagreement was resolved, and on September 8, 2020, Manager # 2 was

promoted to general manager of the Huddle House franchise.

       242.    On September 23, 2020, Manager # 2 was fired.

       243.    On October 15, 2020, Manager # 2 was identified for the first time as a witness in

the potential legal proceedings against D'Argent, in a letter from Plaintiff’s counsel to D’Argent’s

counsel Jones Walker.

       244.    On information and belief, Jones Walker forwarded the letter to D’Argent

sometime in the next few days.

       245.    On October 22, 2020, having learned that Manager # 2 would be a witness against

them, D’Argent reported Manager # 2 to the police for felony theft.

       246.    D’Argent reported Manager # 2 to the police in an effort to intimidate him and chill

his testimony against D’Argent.

       247.    Third, Defendants destroyed evidence when they deleted the @LeroyGuillot

Twitter account after they received a preservation request that specifically requested preservation

of that Twitter account.

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       248.    The @LeroyGuillot Twitter account was used by CEO Thomas Giallonardo III to

complain about women, “blacks,” transgender persons (who he describes as men who have “cut

[their] goober off”), Dr. Martin Luther King, Jr., and other people and groups.

       249.    The @LeroyGuillot Twitter account was evidence relevant to this case because it

showed the attitude of D’Argent’s leadership towards women and gender, and because it reflects

D’Argent’s leadership’s understanding of “discrimination” and “bigotry.”

       250.    A few examples are as follows:




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       251.    Once a third party connected Mr. Giallonardo to the “Leroy Guillot” account, Mr.

Giallonardo made the Twitter account private, took his photo off of it, and changed his description

from “Just a Cajun boy from south Louisiana” to “Just a cowboy from Montana.”

       252.    After Thomas Giallonardo made the account private, Plaintiff’s counsel learned

about the account.

       253.    Because the account was private, Plaintiff’s counsel could not read any of the

account’s tweets on Twitter.

       254.    Plaintiff’s counsel could, however, see a small subset of the account’s tweets using

an internet archive service.

       255.    The small subset (including the images above) was enough to indicate that the

account was relevant evidence.

       256.    So on June 30, 2020, Plaintiff’s counsel sent a preservation letter to D’Argent Via

U.S.   Mail,   fax   to   318.787.6726,    and   email    to   info@dargentcompanies.com       and

tomg@dargentcompanies.com.

       257.    The preservation letter specifically identified “All social media of all executives,

including but not limited to twitter.com/LeroyGuillot” as among the evidence that should be

preserved.

       258.    Despite having received the preservation notice, Defendants deleted the

@LeroyGuillot account.

       259.    This was done in an effort to spoliate evidence.

       260.    Spoliation and alteration of documents was a common business tactic by D’Argent.

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For example, Administrative Assistant # 1 reported that Thomas Giallonardo would brag that after

a commercial rental agreement was signed, he would go in and alter the rental price if he thought

the tenant hadn’t read it carefully enough to catch the alteration.

                            Count 4 – State Law Direct Action Claim
                               Against XYZ Insurance Companies

        261.    Plaintiffs incorporates and reasserts the allegations in each preceding and

following paragraphs of this Complaint.

        262.    Defendant ABC Insurance Companies, upon information and belief, have issued

and/or currently have in effect one or more policies of insurance covering one or more of the

Defendants named herein. For valuable consideration received, these policies obligated

Defendant Insurance Companies, jointly and/or severally, to pay on behalf of their insured

Defendant(s) any sums the insured Defendant(s) may become obligated to pay to Plaintiff or to

indemnify their insured Defendant(s) for any sums the insured Defendant(s) may become

obligated to pay to Plaintiff.

        263.    By reason of their illegal and unconstitutional acts, Defendants are liable to

Plaintiff for all damages and injuries they have suffered as a result. Upon information and belief,

Defendant Insurance Companies are contractually obligated to pay these sums on behalf of the

insured Defendant(s).

        264.    Upon information and belief, Defendant Insurance Companies are liable to

Plaintiff for any and all damages incurred by reason of the insured Defendant(s)’ acts, up to their

policy limits, notwithstanding the fact that the insured Defendant(s) may themselves be able to

assert claims of privilege or immunity from liability.

        265.    Under Louisiana Revised Statute § 22:655(B), Plaintiff brings a direct action

against Defendant Insurance Companies to recover any and all sums they are obligated to pay



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Plaintiffs on behalf of their insureds or to indemnify their insureds.

                                    I.     RELIEF REQUESTED

       266.     Wherefore Plaintiff prays for judgment against Defendants as follows:

             (a) For a judgment against Defendants for all asserted causes of action;

             (b) For a judgment awarding compensatory damages;

             (c) For a judgment awarding special damages;

             (d) For a judgment awarding Plaintiff her costs and attorney’s fees;

             (e) For a judgment awarding pre- and post-judgment interest at the highest rates

                allowed by law; and

             (f) For all other and further relief as may be necessary and appropriate.

       267.     Plaintiff states any and all other causes of action that may become known through

a trial of this matter on its merits against any and all other parties which are herein named or which

may be added later, and request any and all other damages or remedies which this Court may seem

equitable.

       268.     Plaintiff reserves the right to notice of defect to this pleading and reserve the right

to amend or supplement this Petition after discovery of any additional fact, law, or claim, the

amendment of which to be performed by the filing of any subsequent pleading.

                                          JURY DEMAND

       Plaintiff respectfully requests a trial by jury on all issues so triable.

                                         Respectfully Submitted:

                                         LAW OFFICE OF WILLIAM MOST

                                         /s/ William Most
                                         WILLIAM MOST (La. Bar No. 36914)
                                         HOPE PHELPS (La. Bar No. 37259)
                                         DAVID LANSER (La. Bar No. 37764)
                                         201 St. Charles Ave., Ste. 114, # 101

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